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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                       EUGENE DIVISION




ETHAN LEVI,                                                            Case No. 6:22-cv-01813-MK
                                                                                   OPINION AND
                       Plaintiff,                                                         ORDER

       vs.

KIM CHAPMAN et al.,

                  Defendants.
_________________________________________

KASUBHAI, United States Magistrate Judge:

       Plaintiff Ethan Levi (“Plaintiff”) filed this action on behalf of J.C., a minor child, against

the Oregon Department of Human Services (“DHS”) and several of its employees (collectively,

“Defendants”). Plaintiff’s complaint alleges civil rights violations arising out of the sexual abuse

of J.C. while in the custody of DHS-certified foster care provider Joe Albert Raygosa. Plaintiff

filed a motion for entry of protective order on April 11, 2023 (ECF 32), and Defendants filed a

response (ECF 34) contesting multiple provisions of Plaintiff’s proposed order. Defendants also

filed a proposed stipulated protective order that largely conforms to the two-tier protective order

available from this District’s website. ECF 35-1, 35-3.



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       Federal Rule of Civil Procedure 26(c)(1) permits the Court to enter a protective order that

limits the extent of disclosure. After careful consideration of the parties’ arguments, the Court

orders that the parties shall adopt Defendants’ proposed form of protective order, which

conforms to the District of Oregon’s standard form of two-tier protective order, with the

following amendments and exclusions:

           •   Plaintiff’s proposed Paragraph 6.4 (“Burden”) (ECF 32 at 2-3) shall be incorporated

               into the protective order. Where a party’s designation is challenged, the party

               asserting good cause bears the burden, for each particular document it seeks to

               protect, of showing that specific prejudice or harm will result if no protective order

               is granted. Foltz v. State Farm Mutual Auto Ins., 331 F.3d 1122, 1130 (9th Cir.

               2003).

           •   Plaintiff’s proposed Paragraph 7.2(e) (ECF 32 at 3) regarding the production of

               confidential information or items for use in depositions of fact witnesses shall be

               included in the protective order. Plaintiff shall be permitted to disclose confidential

               materials to persons who otherwise possessed or knew of the information, and

               persons referenced in the documents, for discovery purposes.

           •   Plaintiff’s proposed Paragraph 7.2(g) and (h) regarding the retention of confidential

               information or items for use in collateral litigation shall not be included in the

               protective order. The Court declines to extend its jurisdiction to multiple nonparties

               who have not filed claims, and whose legal interests are independent from any party

               before this Court.

           •   Plaintiff’s proposed Paragraph 13 regarding the final disposition of information or

               items designated as confidential shall not be included in the protective order. After



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               final judgment has been entered in this case and there is no reasonable possibility

               of appeal, Plaintiff shall return to Defendant all information or items designated as

               confidential.

           •   The protective order shall include an indemnity provision agreeable to both parties

               specifying that Defendant will retain all confidential documents relevant to this

               litigation for 20 years after final judgment has been entered and agree to bear all

               costs to such indemnification in the event that Defendants fail to properly retain

               such confidential information or items. If Defendants are unwilling to indemnify

               Plaintiff, then Plaintiff may retain sealed copies of documents designated as

               Confidential in Plaintiff’s records.

                                         CONCLUSION

       For the reasons above, Plaintiff’s motion for entry of protective order (ECF 32) is

GRANTED in part and DENIED in part. The parties are ordered to confer and submit to the

Court a proposed protective order that accords with this Order within 14 days.

       IT IS SO ORDERED.

       DATED this 12th day of May 2023.


                                                      s/ Mustafa T. Kasubhai
                                                      MUSTAFA T. KASUBHAI (He / Him)
                                                      United States Magistrate Judge




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